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Fll_L?=;» £:’r___ j_§a‘ _-J.(~,
lN THE UNITED STATES DISTRICT COURT . ' ‘“
FOR THE WESTERN DISTRICT OF TENNESSEE @5 ;_.'i}'{ s1 _q m f l. m
WESTERN I)IVISION ' l ' " §
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tim :'..»`-_- l.»>n?- CT-
'¢ ~-~ -M .“'\=t_i-at>ius_-:
MEMPHIS-SHELBY COUNT‘( )
AIRPORT AUTHORI_TY, et al., )
)
Plaintiffs, )
)
v. ) No. 03:2649-B-Ph
) CONSOLIDATED ‘/
UNITED STATES FIRE ) With No. 04:2432-B-An
lNSURANCE CO., )
)
Defendant. )
)
ONEBEACON AMERICAN )
lNSURANCE COMPANY, et al., )
)
I’laintiffs, )
)
v. ) No. 04:2432-B-An `/
)
.]ACO AIRFIELD CONSTRUCTION, )
lNC., et al., )
)
Defendants. )

 

ORDER GRANTI_NG ONEBEACON’S MOTION AMENDING RULE l6(b)
SCHEDULING ORDER

 

This matter is before the Court on OneBeacon’s Motion for Extension ot` Rule l6(b)
Scheduling Order. Upon consideration of the motion, the briefs Submitted by Counsel, and the
entire record, the Court finds that OneBeaoon’s Motion should be granted

lt is, therefore, ORDERED that Plaintift` OneBeaeon shall have until lone l5, 2005 to

disclose its experts under Rule 26(21)(2).

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=~E“- ll.ei@»a 55 a-"\o`;`o_r 79i_3`) FWJP O"' .__5___“~_____~_____ -___

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Submitted by:

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 56 in
case 2:04-CV-02432 Was distributed by faX, mail, or direct printing on
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Honorable .1_ Breen
US DISTRICT COURT

